\OOO\]O`\Ul-I>Wl\)»-

[\)[\)l\)[\)l\)[\)[\)[\)l\))-‘)-‘>-¢>_¢)-\)-‘)-¢>-‘)-¢»-¢
OO\IO\MJ>UJNHC\OOO\]O\LA-I>DJI\)*_‘C

Case 2:15-md-02641-DGC Document 10596 Filed 03/30/18 Page 1 of 1

 

SLED ____, LoDGED

____REOENED ___*_Copy

MAR 3 0 2018

CLERKus mci couR
By msm:cr "Anuzo~A T
oriqu

 

 

 

 

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

IN RE: Bard IVC Filters Products Liability

Litigation,

 

Sherr-Una Booker, an individual,'
Plaintiff,
v.

C. R. Bard, Inc., a NeW Jersey corporation;
and Bard Peripheral Vascular, Ine., an
Arizona corporation,

Defendants.

 

 

 

 

No. MDL 15-()2641-PHX+DGC

No. CV- l 6-00474-PHX-DGC

VERDICT

(Punitive Damages)

We, the jury, duly empaneled and sworn in the above entitled aetion, upon our

oaths, find the amount of punitive damages to be:

 

$ ,Z `z>oO, 000 § {LM(HZW>

653

 

Presiding Juror Number

Date

HM>A 3a w/?

 

 

